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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                          )
                                                   )            8:05CR157
                     Plaintiff,                    )
                                                   )
       vs.                                         )             ORDER
                                                   )
FILEMON VENTURA-SALMERON,                          )
JOSE LUIS JIMENEZ-JIMENEZ and                      )
ARTURO HERNANDEZ,                                  )
                                                   )
                     Defendants.                   )


       This matter is before the court on the motion of defendant Arturo Hernandez
(Hernandez) to continue the evidentiary hearing tentatively scheduled for 9:00 a.m. on June
1, 2005 (Filing No. 24). The motion is granted, and the tentative evidentiary hearing
scheduled for 9:00 a.m. on June 1, 2005, is canceled. A hearing on Hernandez’s motion to
suppress (Filing No. 22) will be scheduled at a later date following consultation with counsel.
       IT IS SO ORDERED.
       DATED this 20th day of May, 2005.
                                                   BY THE COURT:
                                                   s/Thomas D. Thalken
                                                   United States Magistrate Judge
